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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

               Plaintiff,                            Case No. 11-CR-20117
                                                     HON. GEORGE CARAM STEEH
vs.

DONALD PETERSON,

               Defendant.

______________________________/

        ORDER GRANTING MOTION TO WAIVE ELECTRONIC FILING (# 114)

       Before the court in this multi-defendant case is defendant Donald Peterson’s motion

to waive the requirement for electronic filing. Peterson’s counsel, Robert Mitchell, asserts

he is “functionally illiterate” in using the internet.

       The court will grant the motion. Mr. Mitchell shall file all documents with the clerk’s

office and provide the court with a judge’s copy. Any documents filed by the government

or the court will be sent to Mr. Mitchell via first class mail; any such documents that are time

sensitive shall also be faxed to Mr. Mitchell’s office. Mr. Mitchell shall promptly provide the

court and opposing counsel with his fax number.

       IT IS SO ORDERED.

Dated: April 22, 2013
                                              s/George Caram Steeh
                                              GEORGE CARAM STEEH
                                              UNITED STATES DISTRICT JUDGE
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                                CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                April 22, 2013, by electronic and/or ordinary mail and also on
                   Robert F. Mitchell, 1401 Beaubien, Detroit, MI 48226.

                                      s/Barbara Radke
                                        Deputy Clerk




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